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(12> Ulllted States Patent                                                                      (10) Patent N0.:                    US 6,863,170 B2
       Gordon et al.                                                                            (45) Date of Patent:                               Mar. 8, 2005


(54)    PRINTED CIRCUIT BOARD SUPPORT                                                               5,523,941 A       6/1996 Burton et 211.
                                                                                                    5,730,051 A   *   3/1998   Takahashi et a1. ........ .. 101/126
(75)    Inventors; Brian F, Gordon, Boise, ID (Us);                                                 5,860,640 A *     1/1999 Marohl et al. ........ .. 269/289 R
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(73) Asslgnee: 5515c?“ Technology’ Inc" B0156’ ID                                                   6,374,729 B1 * 4/2002 61%;;               .................. .. 101/114
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(*)     Notice:         Subject to any disclaimer, the term of this
                        patent is extended or adjusted under 35                              Primary Examiner_RiChard Ridley
                        USC- 154(k)) by 0 days-                                              (74) Attorney, Agent, or Firm—Dinsmore & Shohl LLP
(21) Appl. No.: 10/375,818                                                                   (57)                     ABSTRACT
(22)    Filed;          Feb 27, 2003                                                         A method of conveying a printed circuit board in a printed
                                                                                             circuit board conveying system. The conveying system
(65)                   Prior Publication Data                                                comprises a pair of conveyor rails and a printed circuit board
        Us 2003/0136637 A1 Jul 24 2003                                                       support assembly. The rails are positioned to engage oppo
                              ' ’                                                            site lateral edge portions of a printed circuit board and
                  Related US Application Data                                                con?gured to convey the printed circuit board along a
                                                                                             conveyor path. The support assembly is positioned to sup
(62)    Division of application No. 09/704,294, ?led on Nov. 1,                              POTt a major Portion of the printed Circuit board between the
        2000, now Pat. No. 6,631,798.                                                        lateral edge portions and comprises a support base and a
(51) Int. c1.7 .............................................. .. B65G 15/64                  spacePselected .from a plurality of SPF‘C‘Q'IS' .The ‘.nethod
(52) U S C]                                                                     198/3 45 2   comprises selecting a spacer as'a function of its thickness
          I. .    . .................................................. ..               .    and a thlckness pro?le of the pnnted Clrcult board engaged
        Fleld Of Search ....................... ..                                              the pair of Conveyor rails, installing the Selected Spacer
                       29/829’ 837’ 890’ 846’ 760’ 939; 26956’                               by extending at least one projection into a recess, and
                                                                      71’ 289 R’ 8           engaging an upper spacer surface of the selected spacer With
(56)                         References Cited                                                the printed circuit board. It is emphasized that this abstract
                                                                                             is provided to comply With the rules requiring an abstract
                  U_S_ PATENT DOCUMENTS                                                      that Will alloW a searcher or other reader to quickly ascertain
                                                                                             the subject matter of the technical disclosure. It is submitted
       3,868,764 A                3/1975 Hartleroad et 211.                                  With the understanding that it Will not be used to interpret or
       4,399,988 A                8/1983 De Shong                                            limit the scope or meaning of the claims. 37 CFR §1.72(b).
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       PRINTED CIRCUIT BOARD SUPPORT                                    limit movement of the spacer relative to a plane parallel to
                                                                        the support surface.
           CROSS-REFERENCE TO RELATED                                      In accordance With yet another embodiment of the present
                  APPLICATIONS                                          invention, a printed circuit board support is provided com
   This application is a division of application Ser. No.               prising a support base. The support base de?nes a support
09/704,294, ?led Nov. 1, 2000 now US. Pat. No. 6,631,798                surface, a leading edge, a trailing edge, and a pair of lateral
entitled “PRINTED CIRCUIT BOARD SUPPORT”, and is                        edges. The support base also de?nes a cut-out formed
further related to application Ser. Nos. 10/375,807, 10/375,            therein. The cut-out is positioned betWeen the pair of lateral
456, and 10/375,275 Which are all entitled “PRINTED                     edges and extends from the leading edge in the direction of
                                                                   10   the trailing edge to a position betWeen the leading edge and
CIRCUIT BOARD SUPPORT”.
                                                                        the trailing edge.
         BACKGROUND OF THE INVENTION                                      The leading edge, the trailing edge, and the pair of lateral
                                                                        edges may be de?ned in a substantially planar surface of the
   The present invention relates to printed circuit board               support base. The cut-out may be formed in the support
handling and manufacturing processes and, more                     15
                                                                        surface of the support base. The printed circuit board support
particularly, to an improved printed circuit board support,             may further comprise a spacer and a spacer securement. The
printed circuit board conveying system, and printed circuit             spacer engaging the support surface and including an addi
board processing system.                                                tional cut out formed therein and the spacer securement
   Conventional printed circuit board processing systems,               arranged to secure the spacer to the support surface With the
e.g., SMT (surface mount technology) manufacturing                      additional cut-out aligned With the cut-out formed in the
systems, typically utiliZe a conveyor system to move a                  support base. The additional cut-out and the cut-out in the
printed circuit board from station to station Within the                support base may be coextensive. The additional cut out may
system. Often, the printed circuit board is supported or held           be formed in an upper spacer surface of the spacer.
in a manner that is insuf?cient to prevent the board from                 In accordance With yet another embodiment of the present
Warping, tWisting, or bending during processing.                   25
                                                                        invention, a printed circuit board support is provided com
Accordingly, there is a need in the art of printed circuit board        prising a support base de?ning a support surface. A base
handling and processing for an improved printed circuit                 extension assembly is secured to the support base and is
board support.                                                          arranged to de?ne a variable extension assembly height
                                                                        dimension and at least a portion of a height dimension of the
        BRIEF SUMMARY OF THE INVENTION
                                                                        printed circuit board support, Wherein variation of the vari
  This need is met by the present invention Wherein an                  able extension assembly height dimension results in varia
improved printed circuit board support, an improved printed             tion of the height dimension of the printed circuit board
circuit board conveying system, and an improved printed                 support.
circuit board processing system are provided. In accordance        35     The base extension assembly may be further arranged
With one embodiment of the present invention, a printed                 such that the extension assembly height dimension varies in
circuit board support is provided comprising a support base,            response to a force applied to the support surface. The base
a spacer, and a spacer securement. The support base de?nes              extension assembly comprises a spring-loaded extension
a support surface. The spacer engages the support surface.              including a spring arranged to compress in response to a
The spacer securement includes a projection and a recess. 40 force applied to the support surface. The base extension
The projection adjoins one of the support base and the                  assembly may comprise a viscously damped extension
spacer. The recess is formed in the other of the support base           arranged to compress in response to a force applied to the
and the spacer. The projection extends into the recess and the          support surface. The base extension assembly may comprise
projection and the recess are con?gured such that the                   a pair of support legs. Each of the pair of support legs may
extension of the projection into the recess limits movement             be arranged such that the extension assembly height dimen
of the spacer relative to a plane parallel to the support               sion varies in response to a force applied to the support
surface.                                                                surface.
   The printed circuit board support may comprise tWo or                   In accordance With yet another embodiment of the present
more spacer securements. The projection may comprise a                  invention, a printed circuit board support is provided com
substantially cylindrical pin and the recess may comprise a             prising a support base, a base extension, and a magnetic
cylindrical recess having a diameter slightly larger than the           source. The support base de?nes a support surface and a
pin. The spacer may de?ne an upper spacer surface spaced                loWer surface. The base extension is secured to the support
from and substantially parallel to the support surface.                 base and is arranged to de?ne at least a portion of a height
   In accordance With another embodiment of the present                 dimension of the printed circuit board support. A magnetic
invention, a printed circuit board support assembly is pro         55   source is secured to the base extension and is positioned
vided comprising a support base and a plurality of spacers.             such that the loWer surface of the support base is arranged
The support base de?nes a support surface and at least one              to secure the printed circuit board support to an object under
recess formed therein. The recess de?nes an opening on the              magnetic force. The magnetic source may comprise a per
support surface. The plurality of spacers de?ne respective              manent magnet and may be secured Within a cavity formed
upper spacer surfaces and opposite spacer surfaces. The                 in the loWer surface of the support base.
spacers de?ne a range of respective thickness dimensions                   In accordance With yet another embodiment of the present
betWeen respective ones of the spacer surfaces and corre                invention, a printed circuit board conveying system is pro
sponding ones of the opposite spacer surfaces. Each of the              vided comprising a pair of conveyor rails and a printed
spacers includes at least one projection extending from the             circuit board support. The pair of conveyor rails are posi
opposite spacer surface. The respective projections and the        65   tioned to engage opposite lateral edge portions of a printed
recess formed in the support base are siZed to enable                   circuit board and are con?gured to convey the printed circuit
extension of the respective projections into the recess and to          board along a conveyor path. The printed circuit board
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support is positioned to support a portion of the printed               platform under magnetic force, Wherein the base extension
circuit board betWeen the lateral edge portions. The printed            assembly is con?gured such that the height dimension of the
circuit board support comprises a support base de?ning a                printed circuit board support permits engagement of the
support surface, a spacer engaging the support surface, and             support surface With the printed circuit board.
a spacer securement including a projection and a recess. The               In accordance With yet another embodiment of the present
projection adjoins one of the support base and the spacer.
The recess is formed in the other of the support base and the
                                                                        invention, a printed circuit board processing system is
                                                                        provided. The system includes a printed circuit board con
spacer. The projection extends into the recess. The projec
                                                                        veying system coupling a printed circuit board loader to a
tion and the recess are con?gured such that the extension of
                                                                        stencil printer, a pick and place machine, and a re?oW oven.
the projection into the recess limits movement of the spacer
relative to a plane parallel to the support surface. Athickness
                                                                   10   The printed circuit board conveying system comprises a pair
                                                                        of conveyor rails and a printed circuit board support accord
dimension of the spacer is selected to enable engagement of
                                                                        ing to the present invention.
the spacer With the printed circuit board.
   In accordance With yet another embodiment of the present                In accordance With yet another embodiment of the present
invention, a printed circuit board conveying system is pro              invention, a method of conveying a printed circuit board in
                                                                   15
vided comprising a pair of conveyor rails, a printed circuit            a printed circuit board conveying system is provided. The
board support, and a stop mechanism. The pair of conveyor               conveying system is provided in accordance With the present
rails are positioned to engage opposite lateral edge portions           invention and the conveying method comprises the steps of
of a printed circuit board and are con?gured to convey the              selecting one of the plurality of spacers as a function of its
printed circuit board along a conveyor path. The printed                thickness and a thickness pro?le of the printed circuit board
circuit board support is positioned to support a portion of the         engaged by the pair of conveyor rails; installing the selected
printed circuit board betWeen the lateral edge portions and             spacer by extending at least one of the respective projections
comprises a support base. The support base de?nes a support             into the recess; and engaging an upper spacer surface of the
surface, a leading edge, a trailing edge, a pair of lateral             selected spacer With the printed circuit board.
edges, and a cut-out formed therein. The cut-out is posi           25
                                                                           In accordance With yet another embodiment of the present
tioned betWeen the pair of lateral edges and extends from the           invention, a method of conveying a printed circuit board in
leading edge in the direction of the trailing edge to a position        a printed circuit board conveying system is provided. The
betWeen the leading edge and the trailing edge. The stop                conveying system is provided in accordance With the present
mechanism is positioned to engage the printed circuit board             invention and the conveying method comprises the steps of
support at a point Within the cut-out. The stop mechanism               engaging the support surface of the support base With the
may include an actuator and a pin and may be con?gured to               printed circuit board engaged by the pair of conveyor rails
selectively extend and retract the pin to and from a position           and varying the height dimension of the base extension
engaging the printed circuit board support at the point Within          assembly as a function of a thickness pro?le of the printed
the cut-out.                                                            circuit board.
   In accordance With yet another embodiment of the present        35      In accordance With yet another embodiment of the present
invention, a printed circuit board conveying system is pro              invention, a method of processing a printed circuit board in
vided comprising a pair of conveyor rails and a printed                 a processing system including a printed circuit board con
circuit board support. The pair of conveyor rails are posi              veying system coupling a printed circuit board loader to a
tioned to engage opposite lateral edge portions of a printed            stencil printer, a pick and place machine, and a re?oW oven
circuit board and con?gured to convey the printed circuit          40   is provided. The printed circuit board conveying system is
board along a conveyor path. The printed circuit board                  provided in accordance With the present invention and the
support is positioned to support a portion of the printed               processing method comprises the steps of selecting one of
circuit board betWeen the lateral edge portions and com                 the plurality of spacers as a function of its thickness and a
prises a support base and a base extension assembly. The                thickness pro?le of the printed circuit board engaged by the
support base de?nes a support surface. The base extension          45   pair of conveyor rails, installing the selected spacer by
assembly is secured to the support base and is arranged to              extending at least one of the respective projections into the
de?ne a variable extension assembly height dimension and                recess, and engaging an upper spacer surface of the selected
at least a portion of a height dimension of the printed circuit         spacer With the printed circuit board Within the operating
board support. Variation of the variable extension assembly             envelope of the pick and place machine.
height dimension results in variation of the height dimension              In accordance With yet another embodiment of the present
of the printed circuit board support. The base extension                invention, a method of processing a printed circuit board in
assembly is con?gured such that the height dimension of the             a processing system including a printed circuit board con
printed circuit board support permits engagement of the                 veying system coupling a printed circuit board loader to a
support surface With the printed circuit board.                         stencil printer, a pick and place machine, and a re?oW oven
   In accordance With yet another embodiment of the present        55   is provided. The printed circuit board conveying system is
invention, a printed circuit board conveying system is pro              provided in accordance With the present invention and the
vided comprising a pair of conveyor rails, a conveyor                   processing method comprises the steps of engaging the
platform, and a printed circuit board support. The pair of              support surface of the support base With the printed circuit
conveyor rails are positioned to engage opposite lateral edge           board engaged by the pair of conveyor rails Within the
portions of a printed circuit board and are con?gured to                operating envelope of the pick and place machine and
convey the printed circuit board along a conveyor path. The             varying the height dimension of the base extension assembly
printed circuit board support is positioned to support a                as a function of a thickness pro?le of the printed circuit
portion of the printed circuit board betWeen the lateral edge           board.
portions. The printed circuit board support comprises a                   Accordingly, it is an object of the present invention to
magnetic source secured to the base extension assembly and         65   provide an improved printed circuit board support, an
positioned such that the loWer surface of the support base              improved printed circuit board conveying system, and an
secures the printed circuit board support to the conveyor               improved printed circuit board processing system. Other
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objects of the present invention Will be apparent in light of           bly 20 and at least a portion of a height dimension b of the
the description of the invention embodied herein.                       printed circuit board support 5. As Will be appreciated by
                                                                        those practicing the present invention, variation of the
        BRIEF DESCRIPTION OF THE SEVERAL                                variable extension assembly height dimension a results in
             VIEWS OF THE DRAWINGS                                      variation of the height dimension b of the printed circuit
                                                                        board support 5.
  The following detailed description of the preferred
embodiments of the present invention can be best under
                                                                           The extension assembly 20 illustrated in FIG. 3 may
                                                                        comprise a spring arranged to compress in response to a
stood When read in conjunction With the following draWings,             force applied to the support surface 12, a viscously damped
Where like structure is indicated With like reference numer             extension arranged to compress in response to a force
als and in Which:                                                       applied to the support surface 12, or any other components
   FIG. 1 is an illustration of a printed circuit board support         arranged to enable variation of the height dimension a of the
according to one embodiment of the present invention;                   extension assembly 20. The variation of the height dimen
   FIG. 2 is an illustration of a printed circuit board support         sion a may be in response to a force applied to the support
according to another embodiment of the present invention;               surface 12 or may be a result of selective control of the
                                                                   15
  FIG. 3 is an illustration of a printed circuit board support          height dimension a independent of the force applied to the
according to yet another embodiment of the present inven                support surface 12. In the illustrated embodiment, each of
tion;                                                                   the pair of support legs 22, 24 are arranged, in the manner
                                                                        described herein, such that the extension assembly height
  FIG. 4 is an illustration of a printed circuit board con
                                                                        dimension is variable.
veying system according to the present invention; and
                                                                           Referring further to FIG. 2, an additional embodiment of
  FIG. 5 is an illustration of a printed circuit board pro              the present invention is illustrated. A spacer 50 is provided
cessing system.                                                         in engagement With the support surface 12. Aspacer secure
                DETAILED DESCRIPTION                                    ment 52 includes a recess 54 in the form of a cylindrical bore
                                                                   25
                                                                        and a projection 56 in the form of a pin. In the illustrated
  Referring noW to FIGS. 1—5 a printed circuit board                    embodiment, the pin 56 is mounted to or formed integrally
support 5, printed circuit board conveying system 60, and a             With the spacer 50 and the recess 54 is formed in the support
printed circuit board processing system 70 according to the             base 10. It is contemplated, hoWever, that the pin 56 may be
present invention are illustrated. The printed circuit board            mounted to the support base 10 and the recess 54 may be
support 5 illustrated in FIG. 1 comprises a support base 10             formed in the spacer 50.
de?ning a support surface 12. Abase extension assembly 20                 In the engaged state, the projection 56 extends into the
is secured to the support base 10. The base extension                   recess 54 and the projection 56 and the recess 54 are
assembly 20 may be secured to the support base 10 by                    con?gured such that the extension of the projection 56 into
forming the extension assembly 20 and the support base 10               the recess 54 limits movement of the spacer 50 relative to a
as a single integral piece or by coupling tWo separate pieces           plane parallel to the support surface 12. As is illustrated in
                                                                   35
mechanically, adhesively, magnetically, or otherWise.                   FIG. 2, the printed circuit board support 5 may comprise at
   The support base 10 de?nes a leading edge 14, a trailing             least tWo spacer securements 52.
edge 16, and a pair of lateral edges 18. As is illustrated in              The spacer 50 functions to provide an upper spacer
FIG. 1, the leading edge 14, the trailing edge 16, and the pair         surface 58 spaced from and substantially parallel to the
of lateral edges 18 are de?ned in a substantially planar           40   support surface 12. As clearly illustrated in FIGS. 2 and 4,
support surface 12 of the support base 10. In the illustrated           the upper spacer surface 58 is siZed and con?gured to
embodiment, the base extension assembly 20 comprises a                  support and engage a major portion of a printed circuit board
pair of support legs 22, 24.                                            80. Most preferably a plurality of spacers of different
  According to one embodiment of the present invention, a               thicknesses are made available for engagement With the
cut-out 15 is formed in the support base 10. The cut-out 15        45   support base 10. In this manner, the printed circuit board
is positioned betWeen the pair of lateral edges 18 and                  support 5 may be con?gured to support a variety of printed
extends from the leading edge 14 in the direction of the                circuit boards of varying thickness pro?les.
trailing edge 16 to a position betWeen the leading edge 14                 In the embodiment illustrated in FIG. 2, the spacer 50
and the trailing edge 16. In the illustrated embodiment, the            engaging the support surface 12 includes an additional cut
cut-out 15 is formed in the support surface 12 of the support           out 55 formed therein. The spacer securements 52 are
base 10. The purpose of the cut-out 15 is illustrated in further        arranged to secure the spacer 50 to the support surface 12
detail herein With reference to the function of the conveying           With the additional cut-out 55 aligned With the cut-out 15
and processing systems of the present invention.                        formed in the support base 10. Typically, the additional
  Referring speci?cally to FIGS. 1 and 2, the printed circuit           cut-out 55 and the cut-out 15 in the support base 10 are
board support 5 may further comprise a pair of permanent           55   coextensive, i.e., they have substantially the same spatial
magnets 30 secured Within respective cavities in each of the            scope or boundaries. Moreover, as clearly illustrated in
support legs 22, 24 of the base extension 20. The magnets 30            FIGS. 1—3, the cut-out 15 transects the thickness of the
are positioned such that the loWer surface of the support base          support base 10 and, as clearly illustrated in FIG. 2, the
10 is arranged to secure the printed circuit board support 5            additional cut-out 55 transects the thickness of the spacer 50.
to a conveyor platform or other object 40 under magnetic                The additional cut out 55 is formed in an upper spacer
force. Alternative magnetic sources 30, e. g., electromagnets,          surface 58 of the spacer 50. The upper surface 58 of the
may be provided Without departing from the scope of the                 spacer 50 and the support surface 12 collectively de?ne a
present invention.                                                      pair of supportive extensions 25 Which provide additional
   The base extension assembly 20 may comprise a single                 support for printed circuit boards that extend across the
molded piece With or Without attachments or, as is illustrated 65 cut-out 15 and the additional cut-out 55.
in FIG. 3, may comprise a compound assembly arranged to             Referring noW to FIGS. 4 and 5, a printed circuit board
de?ne a variable height dimension a of the extension assem        conveying system, a printed circuit board processing system,
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and their manners of operation are described. A printed                    a printed circuit board support assembly positioned to
circuit board conveying system 60 is incorporated Within the                 support said printed circuit board betWeen said lateral
processing system 70 and includes a conveyor 62 coupling                     edge portions, said printed circuit board support assem
a printed circuit board loader 72 to a stencil printer 74, a pick             bly comprising
and place machine 76, and a re?oW oven 78. The printed                        a support base de?ning a support surface and at least
circuit board conveying system 60 comprises a pair of                           one recess formed therein, said recess de?ning an
conveyor rails 64 positioned to engage opposite lateral edge                    opening on said support surface; and
portions 82 of a printed circuit board 80 and is con?gured to                 a spacer de?ning an upper spacer surface and an
convey the printed circuit board 80 along a conveyor path,                      opposite spacer surface, Wherein
as indicated by directional arroW 66. Aprinted circuit board        10          said upper spacer surface is siZed and con?gured to
support 5 according to the present invention is positioned to                      support and engage said printed circuit board,
support a major portion of the printed circuit board 80                         said spacer includes at least one projection extending
betWeen the lateral edge portions 82 Within an operating                           from said opposite spacer surface, and
envelope of the pick and place machine 76. It is contem                         said projection and said recess formed in said sup
plated by the present invention that the printed circuit board      15             port base are siZed to enable extension of said
support 5 may be positioned to support a major portion of                          projection into said recess and to limit movement
the printed circuit board 80 Within the respective operating                       of said spacer relative to a plane parallel to said
envelopes of other components of the processing system 70                          support surface;
as Well.
                                                                         and Wherein said method comprises:
  Astop mechanism 90 is illustrated in FIG. 4, and includes
                                                                           selecting said spacer from a plurality of spacers as a
an actuator 92 and a pin 94. The stop mechanism 90 is
                                                                              function of its thickness and a thickness pro?le of said
con?gured to selectively extend and retract the pin 94 to and
                                                                              printed circuit board engaged by said pair of conveyor
from a position engaging the printed circuit board support 5                  rails, Wherein said plurality of spacers de?ne a range of
at a point Within the cut-out 15. In this manner, the stop                    respective thickness dimensions betWeen respective
mechanism 90 may be utiliZed to control the movement of             25        ones of said upper spacer surfaces and corresponding
selected printed circuit board supports 5 along the conveyor                  ones of said opposite spacer surfaces;
path.
                                                                           installing said selected spacer by extending said projec
  In operation, one of a plurality of spacers 50 (See FIG. 2)
                                                                              tion into said recess; and
having different thicknesses is selected depending upon the
thickness pro?le of the printed circuit board 80 engaged by                 engaging said upper spacer surface of said selected spacer
the pair of conveyor rails 64. More speci?cally, the spacer 50                With said printed circuit board.
having a thickness most suitable for optimum supportive                    2. A method of conveying a printed circuit board in a
engagement of the printed circuit board 80 by the printed                printed circuit board conveying system Wherein said con
circuit board support 5 is selected. The selected spacer 50 is           veying system comprises:
installed by extending or positioning the respective projec                a pair of conveyor rails positioned to engage opposite
tions 56 into the corresponding recesses 54. The upper                        lateral edge portions of a printed circuit board and
spacer surface 58 of the selected spacer 50 is then utiliZed to               con?gured to convey said printed circuit board along a
engage the printed circuit board 80 Within the operating                      conveyor path; and
envelope of the pick and place machine 76. Alternatively, the              a printed circuit board support positioned to support said
spacer 50 may be eliminated and the base extension assem            40        printed circuit board betWeen said lateral edge portions,
bly 20 may be arranged to de?ne a variable extension                          said printed circuit board support comprising
assembly height dimension a, as discussed herein With                         a support base de?ning a support surface; and
reference to FIG. 3, and the height dimension of the base                     a base extension assembly secured to said support base
extension assembly 20 may be varied as a function of a                           and arranged to de?ne a variable extension assembly
thickness pro?le of the printed circuit board 80. In Which          45           height dimension and at least a portion of a height
case the upper surface 12 Will engage the printed circuit                       dimension of said printed circuit board support,
board 80. It is contemplated that the variable height base                      Wherein
extension assembly 20 and the spacers 50 may be utiliZed in                     said base extension assembly comprises a viscously
a cooperative relationship in a single embodiment of the                           damped extension arranged to compress in
present invention.                                                                 response to a force applied to said support surface,
   Having described the invention in detail and by reference                    variation of said variable extension assembly height
to preferred embodiments thereof, it Will be apparent that                         dimension results in variation of said height
modi?cations and variations are possible Without departing                         dimension of said printed circuit board support,
from the scope of the invention de?ned in the appended                             and
claims. More speci?cally, although some aspects of the              55          said base extension assembly is con?gured such that
present invention are identi?ed herein as preferred or par                         said height dimension of said printed circuit board
ticularly advantageous, it is contemplated that the present                        support permits engagement of said support sur
invention is not necessarily limited to these preferred aspects                    face With said printed circuit board;
of the invention.                                                        and Wherein said method comprises:
  What is claimed is:                                                      engaging said support surface of said support base With
  1. A method of conveying a printed circuit board in a                       said printed circuit board engaged by said pair of
printed circuit board conveying system Wherein said con                      conveyor rails; and
veying system comprises:                                                   varying said height dimension of said base extension
  a pair of conveyor rails positioned to engage opposite                      assembly as a function of a thickness pro?le of said
    lateral edge portions of a printed circuit board and            65        printed circuit board.
    con?gured to convey said printed circuit board along a                 3. A method of processing a printed circuit board in a
    conveyor path; and                                                   processing system including a printed circuit board convey
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ing system coupling a printed circuit board loader to a stencil              a base extension assembly secured to said support base
printer, a pick and place machine, and a re?oW oven,                            and arranged to de?ne a variable extension assembly
Wherein said printed circuit board conveying system com                         height dimension and at least a portion of a height
prises:                                                                        dimension of said printed circuit board support,
  a pair of conveyor rails positioned to engage opposite                       Wherein
    lateral edge portions of a printed circuit board and                       said base extension assembly comprises a viscously
    con?gured to convey said printed circuit board along a                        damped extension arranged to compress in
    conveyor path; and                                                            response to a force applied to said support surface,
  a printed circuit board support assembly positioned to                       variation of said variable extension assembly height
    support said printed circuit board betWeen said lateral        10             dimension results in variation of said height
     edge portions Within an operating envelope of said pick                      dimension of said printed circuit board support,
                                                                                  and
     and place machine, said printed circuit board support
     assembly comprising                                                       said base extension assembly is con?gured such that
     a support base de?ning a support surface and at least                        said height dimension of said printed circuit board
          one recess formed therein, said recess de?ning an                       support permits engagement of said support sur
          opening on said support surface; and                                    face With said printed circuit board;
     a spacer de?ning an upper spacer surface and an
                                                                        and Wherein said method comprises:
          opposite spacer surface, Wherein                                engaging said support surface of said support base With
          said upper spacer surface is siZed and con?gured to                said printed circuit board engaged by said pair of
            support and engage said printed circuit board,                   conveyor rails Within said operating envelope of said
          said spacer includes at least one projection extending            pick and place machine; and
            from said opposite spacer surface, and                        varying said height dimension of said base extension
          said projection and said recess formed in said sup                 assembly as a function of a thickness pro?le of said
             port base are siZed to enable extension of said                printed circuit board.
             projection into said recess and to limit movement            5. A method of supporting a printed circuit board by a
             of said spacer relative to a plane parallel to said        printed circuit board support assembly Wherein said printed
            support surface;                                            circuit board support assembly comprises:
and Wherein said method comprises:                                        a support base de?ning a support surface and at least one
  selecting said spacer from a plurality of spacers as a                     recess formed therein, said recess de?ning an opening
     function of its thickness and a thickness pro?le of said                on said support surface; and
     printed circuit board engaged by said pair of conveyor               a spacer de?ning an upper spacer surface and an opposite
     rails, Wherein said plurality of spacers de?ne a range of               spacer surface, Wherein
     respective thickness dimensions betWeen respective                      said upper spacer surface is siZed and con?gured to
     ones of said upper spacer surfaces and corresponding          35          support and engage a substantially major portion of
     ones of said opposite spacer surfaces;                                    said printed circuit board,
  installing said selected spacer by extending said projec                   said spacer includes at least one projection extending
    tion into said recess; and                                                 from said opposite spacer surface, and
  engaging said upper spacer surface of said selected spacer                 said projection and said recess formed in said support
     With said printed circuit board Within said operating         40          base are siZed to enable extension of said projection
     envelope of said pick and place machine.                                  into said recess and to limit movement of said spacer
  4. A method of processing a printed circuit board in a                       relative to a plane parallel to said support surface;
processing system including a printed circuit board convey              and Wherein said method comprises:
ing system coupling a printed circuit board loader to a stencil           selecting said spacer from a plurality of spacers as a
printer, a pick and place machine, and a re?oW oven,               45        function of its thickness and a thickness pro?le of said
Wherein said printed circuit board conveying system com                     printed circuit board engaged by said upper spacer
prises:                                                                      surface, Wherein said plurality of spacers de?ne a range
  a pair of conveyor rails positioned to engage opposite                     of respective thickness dimensions betWeen respective
     lateral edge portions of a printed circuit board and                    ones of said upper spacer surfaces and corresponding
     con?gured to convey said printed circuit board along a                  ones of said opposite spacer surfaces;
     conveyor path; and                                                   installing said selected spacer by extending said projec
  a printed circuit board support positioned to support said                tion into said recess; and
     printed circuit board betWeen said lateral edge portions             engaging said upper spacer surface of said selected spacer
     Within an operating envelope of said pick and place                    With said printed circuit board.
     machine, said printed circuit board support comprising
     a support base de?ning a support surface; and                                            *   *    *   *   *
